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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil No. 14-cv-3349-PAB-NYW

   ROBERT A. PFAFF,

                   Plaintiff,
   v.

   UNITED STATES OF AMERICA,

                   Defendant.


    [Proposed ] ORDER GRANTING UNITED STATES’ UNOPPOSED MOTION TO ATTEND
                        STATUS CONFERENCE BY TELEPHONE


          Upon consideration of the United States’ Unopposed Motion to Attend Status Conference

   by Telephone, and good cause having been shown, it is hereby ORDERED that said motion is

   GRANTED.

          DATED this _______ day of March 2015.




                                      NINA Y. WANG
                                      UNITED STATES MAGISTRATE JUDGE




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